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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                    Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                 Defendant.


            GOVERNMENT’S NOTICE OF ANTICIPATED TRIAL LENGTH

       The United States of America respectfully submits this notice in response to the Court’s

Minute Order dated February 27, 2019. In response to the Court’s inquiry, the government

anticipates that its case-in-chief at trial, including expected cross-examination of its witnesses by

the defense, will take approximately five to eight days trial days to complete.

                                      Respectfully submitted,

ROBERT S. MUELLER III                                 JESSIE K. LIU
Special Counsel                                       U.S. Attorney for the District of Columbia

By: /s/                                          By: /s/
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Dated: March 1, 2019
